        Case 1:19-mc-00045-JMS-KJM Document 3 Filed 02/22/19 Page 1 of 3                                                            PageID #: 13
 AO 888 (Rev. 02/14) Subpoena to Produce Documents, Information. or Objects or to Permit Inspection of Premises in a Civil Action


                                        U NITED STATES DISTRICT COURT
                                                                          for the
                                                                   Distiict of Hawaii
  In Re Subpoena to GoDaddy.com LLC
                                                                               )
                                Plaintiff                                      )
                                   V.                                          )        Civil Action No. MC 19-00045 JMS-KJM
                                                                               )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREM ISES IN A CIVIL ACTION

 To:                                Compliance Department, GoDaddy.com, LLC
                                    14455 North Hayden Road, Scottsdale , Arizona 85260
                                                        (Name ofperson to whom this subpoena is directed)

     ~ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored info1mation, or objects, and to pe1mit inspection, copying, testing, or sampling of the
 matedal: Name , address, telephone number, payment details and email address for the (a) registrant, (b)
 administrative contact and (c) the technical contact of each of the domain owner(s) of: showboxforipad.com ;
 showboxapkdl.org ; ishowboxapp.org; showbox-app.org; AND itechgyan.com

  Place: kculpepper@culpepperip.com                                                      Date and Time:
         Kerry S. Culpepper; 75-170 Hualalai Road, Suite 8204                                                 03/29/2019 6:00 am
          Kailua Kona, HI 96740

      D Insp ection of Premises: YOU ARE COMMANDED to pe1mit entiy onto the designated preinises, land, or
 other prope1ty possessed or controlled by you at the time, date, and location set forth below, so that the requesting patty
 may inspect, measure, smvey, photograph, test, or sample the prope1ty or any designated object or operation on it

                                                                                       IDare and Time:

        The following provisions of Fed. R Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing s~"~~~
           February 22, 201 9
 Date:                               SUE BEITIA, CLERK
                                    CLERK OF COURT
                                   !SI SUE BEITIA, CLERK by EA, Deputy Clerk'

                                            Signature ofClerk or Deputy Clerk                                         A ttorney's signature


  The name, address, e-mail address, and telephone number of the attorney representing (name ofp arty) Venice PI, LLC
_8_o_dy.,.g.._u_a_rd_P_ro_d_u_ct_io_n_s....._ln_c.....
                                                  .,_H_u_n_te_r_K_il_le_r_P_ro_d_u_c_tio_n_s....._ln_c_. _____ , who issues or requests this subpoena, at·e:
 Kerry Culpepper, 75-170 Hualalai Rd, #8204, Kailua-Kona, HI 96740; T 808-464-4047; kculpepper@culpepperip.com
                                        Notice to the p er son who issu es or requests this subpoena
 If this subpoena commands the production of documents, electronically stored info1mation, or tangible things or the
 inspection of preinises before tiial, a notice and a copy of the subpoena must be se1ved on each patty in this case before
 it is se1ved on the person to whom it is directed. Fed. R Civ. P. 45(a)(4).
        Case 1:19-mc-00045-JMS-KJM Document 3 Filed 02/22/19 Page 2 of 3                                                           PageID #: 14
AO 888 (Rev. 02/14) Subpoena to Produce Documents. Information. or Objects or to Pennit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                               PROOF OF SERVICE
                      (This section should not be filed witll tile court unless required by Fed. R. Civ. P. 45.)

            I   received this subpoena for (name ofindividual and title, ifany) Verizon Wireless/SUBPOENA COMPLIANCE
on (date)

            0 I se1ved the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            0 I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                       for travel and $                             for se1vices, for a total of$                 0.00



            I declare under penalty of pe1jmy that this info1mation is tiue.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server's address


Additional info1mation regarding attempted se1vice, etc.:
       Case 1:19-mc-00045-JMS-KJM Document 3 Filed 02/22/19 Page 3 of 3                                                                PageID #: 15
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
